                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA
                          ABINGDON DIVISION

  JOHN DOE, AN INFANT, BY HIS NEXT )
  FRIEND, REELIA WATSON,           )
                                   )
              Plaintiff,           )                Case No. 1:16CV00045
                                   )
  v.                               )                 OPINION AND ORDER
                                   )
  RUSSELL COUNTY SCHOOL BOARD )                     By: James P. Jones
  D/B/A RUSSELL COUNTY PUBLIC      )                United States District Judge
  SCHOOLS, ET AL.,                 )
                                   )
              Defendants.          )

         Monica H. Beck and Douglas E. Fierberg, The Fierberg National Law
  Group, PLLC, Traverse City, Michigan, and Paul R. Thomson, III, The Thomson
  Law Firm, PLLC, Roanoke, Virginia, for Plaintiff; Christopher S. Dadak and Jim
  H. Guynn, Jr., Guynn & Waddell, P.C., Salem, Virginia, and Mary Katherine
  Patton, Chafin Law Firm P.C., Lebanon, Virginia, for Defendants Russell County
  School Board d/b/a Russell County Public Schools, Phillip Henley, and Kimberly
  Hooker; W. Ethan Stewart, Stewart Law Office, P.C., Norton, Virginia, guardian
  ad litem for Defendant Bobby Gobble.

        Bobby Gobble was an elementary school custodian who over time sexually

  abused several young boys who were students at the school, including John Doe,

  the pseudonymously-named plaintiff in this case. Following discovery of his

  abuse, Gobble pled guilty to state criminal charges and is currently serving a

  lengthy prison term. As a result of Gobble’s abuse, Doe now sues Gobble, as well

  as the Russell County, Virginia, School Board (the “School Board”), and former

  school principals Phillip Henley and Kimberly Hooker, based on various state and




Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 1 of 57 Pageid#: 2391
  federal causes of action, including Title IX and 42 U.S.C. § 1983.1 This court has

  subject-matter jurisdiction of the claims under 28 U.S.C. § 1331 and 28 U.S.C. §

  1367(a).

        Following extensive discovery, the plaintiff has moved for summary

  judgment against Gobble, and the School Defendants have moved for summary

  judgment on all counts pending against them. The School Defendants have also

  moved to exclude certain proposed trial testimony by two of the plaintiff’s expert

  witnesses. The motions have been fully briefed and orally argued and are ripe for

  decision.

        For the following reasons, I will grant summary judgment against Gobble,

  deny summary judgment to the School Board, grant summary judgment to Henley

  and Hooker, and grant in part and deny in part the School Defendants’ Motion to

  Exclude.

                                         I. FACTS.

        The following facts are taken from the summary judgment record and, where

  disputed, are presented in the light most favorable to the nonmoving party.

        John Doe began attending Lebanon Elementary School (“LES”) in the fall of

  2011 as a nine-year-old third grade student. When he began attending LES, Doe

  had an individualized education plan (“IEP”) to address his special learning needs.

        1
            The School Board and the defendant former school principals will be referred to
  collectively as the “School Defendants.”
                                             -2-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 2 of 57 Pageid#: 2392
  He could not write his name, wrote his letters backward, and could not read. His

  mother, referenced in the record as Jane Doe, was incarcerated, and Doe was living

  with his grandmother, step-grandfather, and three siblings. His grandmother, who

  had custody of Doe, was ill and suffered from heart problems.

        Defendant Phillip Henley was the principal of LES from 2005 until June 1,

  2012, the end of Doe’s third-grade year. Defendant Kimberly Hooker was the

  principal of LES during the 2012-13 school year, when Doe was in fourth grade.

  Dennis Price ņ who is not a defendant ņ was the assistant principal at LES from

  2006 until 2012 and later served as the principal of LES from 2013 to 2015.

  During the 2013-14 school year, when Doe was in fifth grade, he attended Lebanon

  Middle School (“LMS”), located across the street from LES.

        Gobble began working at LES as a janitor in May 2007 and became the head

  custodian on July 8, 2011. His sister, Brenda Helbert, worked as the assistant

  custodian at LES. Helbert had two sons, B.G. and S.G., who were a few years

  older than Doe and were students at other schools in Russell County.

        Gobble first met Doe at LES, where the two talked to one another often.

  Doe wanted to help Gobble with his custodial duties. Gobble had a practice of

  encouraging boys to help him collect trash at the end of the school day. Teachers

  would permit students to leave class during the last five to ten minutes of the




                                          -3-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 3 of 57 Pageid#: 2393
  school day for this purpose, and Gobble frequently gave the boys one or two

  dollars or candy in exchange for helping him.

        Gobble and Doe began spending more and more time together, during and

  after school, at LES and elsewhere. This relationship was encouraged by Doe’s

  teachers, who thought Gobble was a good influence on Doe. Teacher Cecille

  Lawson Skeens called Gobble to her classroom on several occasions to calm Doe

  down, and each time Gobble took Doe out of the classroom and into the hallway.

  Doe’s teachers sent him out of the classroom by himself to get supplies and coffee

  from the custodian office. On at least one occasion, Gobble was allowed to

  remove Doe from school to get a haircut. While he was enrolled in the after school

  program, Doe was allowed to leave the program to spend time with Gobble and

  help him with his cleaning duties around the school. Gobble was not related to

  Doe and did not have written permission to remove Doe from school, although

  Doe’s grandmother and mother verbally approved of Doe spending time with

  Gobble.

        Gobble signed off on Doe’s report cards. Teacher Alisha Powers met with

  Gobble and Doe to discuss Doe’s IEP. Gobble would ask Skeens how Doe had

  done on tests and assignments, and she would provide that information to Gobble.

  Gobble told her that he helped Doe study and would bring him a soft drink at lunch




                                          -4-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 4 of 57 Pageid#: 2394
  if Doe did well. Doe frequently spent time in the custodian office, the door to

  which remained closed at Henley’s direction.

        Gobble gave Doe rides home from school in his personal vehicle on a

  regular basis. Gobble befriended Doe’s family and sometimes stayed to eat dinner

  with them. Gobble took Doe to Gobble’s house along with his nephews, B.G. and

  S.G., to play video games, and Doe ended up spending the night there. Doe would

  eventually stay at Gobble’s house for days on end and essentially lived with

  Gobble for a period of several months. B.G. and S.G. introduced Doe to Henley at

  LES one day and told Henley that Gobble was taking them all out to dinner.

  Henley incorrectly assumed that Doe was related to B.G., S.G., and Gobble.

        Henley became aware that Doe would help Gobble gather trash and also

  participated in the after-school program. As the school year went on, Gobble

  mentioned to Henley that Doe would go to Gobble’s house because he did not like

  to stay at his own home. Henley did not ask Gobble any questions about Doe

  being at his house, including whether he had the permission of a parent or

  guardian. Henley never talked to Doe’s grandmother, his guardian.

        Doe’s teachers were aware that Gobble bought him shoes, clothes, and an

  expensive video game console that he had to finance. Doe’s teachers also knew

  that Gobble often bought him food, which he took to Doe in the school cafeteria

  during lunch, and that Gobble paid Doe’s expenses related to little league football.


                                          -5-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 5 of 57 Pageid#: 2395
  Teacher Powers encountered Doe with Gobble and his nephews at the amusement

  park known as Dollywood, some distance from Russell County. Henley did not

  ask teachers if they had any concerns about Doe spending time with Gobble.

  Henley never checked on Gobble as part of his regular workday. He had no set

  supervisory schedule for Gobble. Henley never reviewed security camera footage

  to see what Gobble was doing.

        Gobble began sexually abusing Doe in early 2012. The abuse continued

  until the summer of 2013, when Jane Doe, who had regained custody of him,

  stopped allowing Doe to spend time with Gobble.         Gobble has admitted to

  repeatedly molesting Doe in the LES boiler room and custodian office, in his

  vehicle, at the home Gobble shared with his then-wife, and at the home of

  Gobble’s sister Helbert, where Gobble lived while separated from his wife. The

  abuse occurred on a near-daily basis.

        According to Gobble, Henley and Hooker knew that Gobble was regularly at

  school before his shift began and that children spent time in the custodian office

  with him before school started. Henley and Hooker knew that teachers sometimes

  sent students by themselves to the custodian office during the school day to get

  supplies, like sponges or paper towels. Henley and Hooker further knew that Doe

  spent time in the custodian office after school and that Gobble spent time in the

  custodian office with Doe, S.G., and B.G., with the door to the office closed. In


                                          -6-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 6 of 57 Pageid#: 2396
  addition, Henley and Hooker were aware that Doe and Gobble’s nephews were

  with Gobble at the school when school was not in session. Henley and Hooker

  knew that Gobble brought Doe to school in the mornings and that Doe left school

  with Gobble at the end of the day. Gobble testified that neither principal asked

  him why he was at school before his shift began or told him he should not have

  children in the custodian office with him.

        In 2012, Gobble’s wife Charlene made a complaint to the Russell County

  Department of Social Services (“DSS”) about Gobble’s relationship with Doe.

  Charlene reported that Doe was staying at the couple’s house and spending an

  excessive amount of time with Gobble. She stated that Gobble was no longer

  sleeping with her and was instead sleeping in the same room as Doe. Charlene

  reported that Gobble’s relationship with Doe was negatively affecting the couple’s

  marriage.

        Pam Kincaid, Kathy Brickey, and two other DSS personnel went to

  Gobble’s home to investigate the complaint. Charlene showed them where Gobble

  slept and a small cot next to the bed where Doe slept. After leaving the Gobble

  home, the DSS workers went to LES and spoke to Hooker about the complaint.

  Hooker told them that Gobble had taken the child under his wing because Doe was

  insecure and he looked up to Gobble as a father figure. Hooker stated that Gobble

  made sure that Doe got home in the evenings and would take him to ball games.


                                           -7-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 7 of 57 Pageid#: 2397
  Following this conversation, the focus of the DSS investigation shifted from

  Gobble to Jane Doe.

        The DSS workers spoke to Gobble, who told them that Doe’s mother had

  allowed him to take the child under his wing and to help him with things at school

  and give him rides home. Gobble stated he was very fond of Doe. Brickey asked

  Gobble about Doe spending the night at his house, and Gobble said that the boy’s

  mother approved. Hooker sat in on this interview of Gobble but did not ask any

  questions.

        The DSS workers spoke to Doe, who stated that he wanted to spend more

  time with his mother rather than spending so much time with Gobble. Doe said

  that he liked Gobble and that Gobble took him places. Hooker sat in on the DSS

  interview of Doe, but she did not ask any questions.

        Kincaid then instructed Gobble to take the child to Doe’s home, where the

  DSS workers met them. Kincaid asked Jane Doe about the relationship between

  Gobble and Doe, and Jane Doe said she was aware that Gobble was taking Doe to

  his house, that Gobble had become a friend of the family, and that he had been to

  the Doe house several times for dinners and birthdays. The DSS workers told Jane

  Doe that Doe should spend more time at home.           Kincaid concluded that the

  complaint was unfounded, and DSS closed the case. Kincaid notified the school of

  the results of the investigation.


                                          -8-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 8 of 57 Pageid#: 2398
        Charlene made another complaint to DSS about a month after the initial

  investigation. Charlene reported that Gobble had moved out of her home and the

  child was still spending nights with Gobble. Charlene told Kincaid that Doe would

  sit on Gobble’s lap, hug him, and call him Daddy, and Charlene was concerned

  that they might get in trouble if Doe got hurt. Charlene told Doe to get off of

  Gobble’s lap. Gobble told Charlene she was jealous. No school official talked to

  Charlene about Doe or Gobble’s relationship with him.

        Gobble told teacher Naomah McCoy that he planned to adopt Doe.

  Gobble’s wife did not want to do this, but according to McCoy, Gobble seemed

  obsessed with the idea.    McCoy thought it was strange that Gobble would

  jeopardize his marriage over Doe. Gobble complained to teacher Powers that his

  wife had called DSS. He was furious about it and told Powers that he was going to

  leave his wife.

        Hooker recalls learning of Charlene’s complaint to DSS and sitting in on

  DSS interviews of Doe and Gobble in the spring of 2013, when Doe was in fourth

  grade. She learned through the interviews that Doe stayed at Gobble’s home.

  Gobble said he was helping Doe’s mother monetarily and by giving Doe rides.

  Hooker did not talk to Doe after the interview about anything that came up during

  the interviews. She did talk to Gobble and asked him some of the same questions

  DSS had asked, to which he gave the same answers he had given to DSS.


                                         -9-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 9 of 57 Pageid#: 2399
        Hooker testified that after Kincaid told her that DSS ruled Charlene’s

  complaint unfounded, Hooker called the school system’s central office to ask

  whether she needed to do anything else. According to Hooker, the superintendent

  told her she did not need to take any further action because DSS had completed its

  investigation. Hooker stated that she discretely inquired of several teachers as to

  whether they had any concerns about Gobble, but most of the teachers testified that

  they did not recall Hooker ever asking them about Gobble.

        Earlier in the school year, prior to the DSS investigation, Hooker had

  instructed LES teachers that students should not be allowed to help Gobble collect

  trash and that they needed to be in the classroom during class time. Hooker told

  the teachers and Gobble that Gobble was not permitted to pay students for helping

  him do his work. When Hooker noticed that Doe was staying after school with

  Gobble, she called Doe’s grandmother, who gave permission and expressed her

  appreciation for Gobble.    Hooker did not obtain written permission from the

  grandmother for Gobble to take Doe to activities or to keep him after school.

  Hooker told Gobble that if Doe was going to stay after school, he had to be

  enrolled in the after-school program. Hooker checked Doe’s grades and saw that

  they were low, and she thought he could benefit from the academic support of the

  after-school program. Even after he was enrolled in the after-school program,

  teacher Powers told Hooker that Doe would try to leave the program to help


                                         -10-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 10 of 57 Pageid#: 2400
  Gobble. Hooker then told Doe that he could not stay at school if he was not in the

  after-school program. Doe began riding the bus home, but Powers told Hooker

  that Doe’s grandfather would drive him back to school and he would again spend

  time with Gobble. Hooker did not talk to the grandfather, grandmother, mother, or

  Doe about this.

        Hooker called Jane Doe, who told her that Gobble had her permission to

  take Doe home and take him to practices and games. Hooker knew that DSS had

  talked to Jane Doe, and Hooker brought up the investigation on the phone call.

  Jane Doe said that Gobble was helping her and she appreciated him. Hooker did

  not talk to either of the school’s guidance counselors about Gobble or Doe.

        Like Henley, Hooker required the custodian door to be closed. Hooker

  knew there were security cameras in the school, but they did not always work

  while she was principal. The school day ended at 3:20, and Hooker usually left

  around 4:00 or 4:15. The after-school program took place from 3:30 to 5:30.

  Hooker knew that Gobble was transporting Doe in his personal vehicle. There was

  an understanding that school employees should always have another adult with

  them when transporting a student in a personal vehicle, but Hooker did not

  investigate whether Gobble had another adult with him when transporting Doe.

        In the summer or fall of 2013, Jane Doe cut off communications between

  Doe and Gobble. She had noticed Gobble following Doe around at his birthday


                                         -11-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 11 of 57 Pageid#: 2401
  party, which was held in the LES cafeteria, and she got a “bad feeling.” She later

  saw Gobble following Doe around at football games and threatened to call law

  enforcement. Doe’s step-grandfather testified that at some point during or after the

  birthday party, Doe indicated that he did not want to go to Gobble’s house and told

  his younger brother not to go to Gobble’s house. At that point, the grandfather

  became suspicious that Gobble may have touched Doe inappropriately.             The

  grandfather also witnessed Gobble’s behavior at a football game and talked to law

  enforcement officers who were present there. The officers talked to Gobble, who

  stopped following Doe around. After Jane Doe cut off contact with Gobble,

  Gobble repeatedly sent text messages to Doe and had Doe’s bus driver pass love

  notes to Doe.

          Brenda Hess was assistant superintendent from March to June 2012 and

  became superintendent in June 2012. She remained superintendent until 2016.

  When Hess first started working in the central office, Harry Steffey was the Title

  IX Coordinator. He was succeeded by Rebecca Dye, who was followed by Cathy

  Gent.

          Around the fall of 2012, Hooker told Hess that Gobble’s wife had made a

  complaint to DSS because she was jealous of a student and that the complaint was

  unfounded. Hess understood that DSS had been investigating a charge that Gobble

  had sexually abused a student. Hess emphatically denied that she told Hooker not


                                          -12-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 12 of 57 Pageid#: 2402
  to conduct her own investigation. She testified that Hooker was supposed to do her

  own investigation.    Hess testified, “She should have followed through with

  questioning and got the specifics of the behavior and what had happened and taken

  action for whatever needed to be done. Just because DSS did theirs, does not

  excuse the school from doing our[] [investigation].” Pl.’s Br. in Opp’n to Sch.

  Defs.’ Mot. for Summ. J. Ex. 3, 55, ECF No. 69-3. The Title IX Coordinator

  should have been involved, and Hess set forth a number of steps Hooker should

  have taken to investigate the complaint. According to Hess, Hooker should have

  reviewed video footage after learning of the first complaint to DSS. Hess said that

  after the DSS investigation, Hooker should have been diligent in closely

  supervising Gobble.

        In February 2014, Gobble molested student A.M. at LES. A.M. told his

  stepfather about the incident, and his stepfather reported the incident to Price.

  Gobble was placed on paid leave pending an investigation. Gobble ultimately

  confessed to the abuse of A.M., Doe, and others, was arrested, and pleaded guilty

  to numerous state charges.

        Following Gobble’s confession, Doe continued to attend LMS for a short

  time and then the family moved to Pulaski County. Doe eventually returned to

  Russell County and currently attends a school there. After his return, he has

  experienced bullying by his classmates regarding Gobble’s sexual abuse. Teachers


                                         -13-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 13 of 57 Pageid#: 2403
  have witnessed the bullying and have not done anything about it. Doe got into a

  fight on the school bus with one of the students who bullied him. As a result, Doe

  was suspended for four days and transferred to an alternative school for several

  months.

        Doe testified that because of his experience with Gobble, he does not like to

  be around people and avoids crowds where people are watching him. He does not

  feel normal. He would like to undergo counseling. He is not getting any special

  services from the school system. He has had several girlfriends, but he does not

  like to be touched by males or females, even on the hand or shoulder. It takes him

  a long time to trust a person and become affectionate. He does not trust any adults

  other than his mother and step-grandfather.

        Psychiatrist Richard S. Epstein, M.D., an expert witness for the plaintiff, has

  opined that Doe suffers severe and chronic posttraumatic stress disorder (“PTSD”)

  as a result of Gobble’s abuse. He avoids social interactions, lashes out at times,

  has self-medicated with alcohol, and does not trust most men. He is depressed and

  anxious. Earlier in his childhood, before Gobble’s abuse, Doe was generally

  outgoing and happy. Since being abused by Gobble, he has lost interest in many of

  the activities he previously enjoyed.    Dr. Epstein opined that without proper

  treatment, Doe is at risk for future psychological decompensation and

  employment-related impairments as a result of Gobble’s abuse.


                                          -14-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 14 of 57 Pageid#: 2404
        A Virginia State Board of Education document entitled “Guidelines for the

  Prevention of Sexual Misconduct and Abuse in Virginia Public Schools” states,

  “Responsibility for protecting students from sexual misconduct and abuse is shared

  by the school board, superintendent, administrators, teachers and other school

  board employees, school volunteers, parents, state agencies, and law enforcement.”

  Br. in Supp. Mot. for Summ. J. Ex. 1, 1, ECF No. 63-1. The document provides

  that a school board’s responsibilities include, among other things, “[t]he

  development, effective implementation and enforcement of clear and reasonable

  policies governing the interaction of students and school board employees and

  volunteers” as well as “[t]he establishment of channels for reporting by students

  and parents of suspected misconduct and abuse, and the prompt notification of law

  enforcement when criminal activity is alleged or suspected.” Id. According to the

  guidelines, school board sexual misconduct policies should include “[c]lear and

  reasonable rules governing communication and interaction between students and

  school board employees” and “[t]raining of school personnel and volunteers and

  the dissemination of sexual misconduct and abuse prevention policies to school

  board employees, volunteers, students, and parents.” Id. at 1-2.

        The guidelines advise that

        Educators, other employees, and volunteers should be aware of
        behaviors often associated with inappropriate conduct that can create
        an appearance of impropriety, including:


                                          -15-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 15 of 57 Pageid#: 2405
           x Conducting ongoing, private, conversations with individual
             students that are unrelated to school activities or the well-being
             of the student that take place in locations inaccessible to others;

           x Inviting a student or students for home visits without informing
             parents;

           x Visiting the homes of students without the knowledge of
             parents;

           x Inviting students for social contact off school grounds without
             the permission or knowledge of parents; and

           x Transporting students in personal vehicles without the
             knowledge of parents or supervisors.

  Id. at 2. Violations of appropriate employee-student boundaries include, inter alia,

  “[p]hysical contact with a student that could be reasonably interpreted as

  constituting sexual harassment” and “[s]ingling out a particular student or group of

  students for personal attention and friendship beyond the bounds of an appropriate

  educator/mentor-student relationship.” Id. The guidelines state that “[s]chool

  boards also should provide training for employees and volunteers on the prevention

  of misconduct and abuse and disseminate information about relevant division

  policies to employees, volunteers, students, and parents.” Id. at 3.

        Henley developed a faculty handbook when he was principal of LES, but he

  could not recall whether it specifically addressed employee sexual harassment of

  students or Title IX. Representatives of DSS and the Russell County Sheriff’s

  Department provided training to administrators, including principals, about once

                                           -16-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 16 of 57 Pageid#: 2406
  per school year. Teachers did not attend these training sessions. Principals were

  expected to disseminate the information they learned to the teachers and staff at

  their schools.    The training sessions sometimes covered sexual abuse and

  sometimes addressed child neglect. They did not specifically address Title IX.

  Posters about mandatory reporting of child abuse and neglect were placed in the

  copying area and teacher’s lounge. Henley did not receive or give any training on

  investigating reports of sexual abuse or on preventing abuse of students by school

  employees. Students did participate in a training program once a year called

  “Good Touch, Bad Touch.”

        Henley could not identify the school system’s Title IX Coordinator or

  describe that person’s duties. He testified in his deposition that if he received a

  complaint of abuse or harassment, he was supposed to report it to the

  superintendent and to DSS, and at that point, he considered the complaint to be in

  DSS’s hands.

        Principal Price also could not identify the Title IX Coordinator. Upon

  receiving a complaint, Price would contact the superintendent and report to DSS.

  He does not recall anyone telling him that he should make a report to the Title IX

  Coordinator. He testified in his deposition that he could not think of any steps that

  the School Board could take to prevent another employee from sexually abusing a

  student.


                                          -17-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 17 of 57 Pageid#: 2407
        A lawyer gave an annual presentation on school law to administrators, and

  his presentations touched upon mandatory reporting and sexual harassment issues.

  He discussed how to recognize staff-to-student harassment, what to do about it,

  and the need to report it.     He emphasized that teachers needed to report to

  administrators but also follow up to ensure that the conduct was reported to DSS.

  The portion of the presentation addressing sexual harassment usually lasted fifteen

  or twenty minutes.

        Hooker did not receive any formal training from the school system regarding

  investigating a complaint of employee sexual abuse of a student. She had training

  through the state that was required to obtain her teaching license, and that training

  addressed abuse, neglect, and grooming. She completed that training in the early

  2000s. Hooker stated that upon receiving a report of harassment or abuse, her duty

  was to report to DSS, report to the superintendent, take notes, and follow up with

  DSS. Though the school system’s harassment policies were publicly available, the

  superintendent never provided training on them.

        When Hooker was LES principal, she developed a handbook for LES faculty

  and staff. The handbook did not address Title IX or sexual harassment because

  Hooker thought those things were addressed in the Student Conduct Code (“SCC”)

  issued by the School Board. Neither the LES handbook nor the faculty handbook

  stated to whom a student should report sexual abuse by an employee. The SCC


                                          -18-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 18 of 57 Pageid#: 2408
  stated that the principal must require a written note from a parent or guardian in

  order for another adult to pick up a student during school hours. Hooker testified

  that she usually complied with that policy, but sometimes she called the parent or

  guardian rather than requiring a written note.      The SCC contained a sexual

  harassment policy, but it did not give examples of what constitutes sexual

  harassment, nor did it mention Title IX. The SCC was sent home with students

  and parents were supposed to sign and return a page stating that they had gone over

  it with their children. The school system did not provide any training or education

  regarding the sexual harassment policy contained in the SCC.

        On August 13, 2012, Hooker held a two-and-a-half hour faculty meeting for

  all teachers and staff of LES. She addressed 72 agenda items, including mandatory

  reporting, which she discussed for ten or fifteen minutes. Hooker knew that

  educators could be held legally liable if they were aware of sexual harassment and

  did not take immediate and appropriate action. She stated that she regularly told

  teachers that they should report to her if they saw anything that made them feel

  uncomfortable. She told them if they called DSS, they should also involve her.

  She told teachers not to be in a classroom alone with a student, not to add students

  as friends on Facebook, not to text with students, and to be careful what they said

  to students and parents.




                                          -19-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 19 of 57 Pageid#: 2409
        After DSS visited the school to interview Gobble and Doe in 2013, Hooker

  did not provide any training to LES employees about employee-on-student

  harassment, and she did not request that the school system bring anyone into the

  school to provide that training. She did not ask teachers to keep an eye on

  Gobble’s interactions with Doe.

        According to Hess, the Title IX Coordinator is not responsible for

  determining whether a complaint is truthful or founded, but the coordinator is to

  assume that the complaint is true until they can prove differently. In the case of a

  sexual abuse or harassment complaint, the coordinator should follow up to ensure

  that the child is receiving services if needed. DSS or law enforcement would make

  the finding as to whether the complaint was founded.

        Steffey, who retired in 2012, was an administrator in the central office and

  was in charge of security. No one ever informed him that he was the Title IX

  Coordinator.   He did not receive any additional pay for serving as Title IX

  Coordinator. He did not seek out any training on Title IX and has never seen any

  of the Dear Colleague Letters issued by the Department of Education, Office for

  Civil Rights (“OCR”).        He does not remember reviewing the Title IX

  implementing regulations. He testified that he thought the principals or assistant

  principals should have reviewed security footage daily, but he did not know

  whether that happened. If Steffey received a parental complaint, he would verbally


                                          -20-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 20 of 57 Pageid#: 2410
  notify the principal and the superintendent. He testified that he did not have any

  responsibility after that.   He thinks the superintendent was responsible for

  overseeing Title IX compliance, but he is not sure. As an administrator, he was not

  aware of any reports or complaints that a school employee was sexually harassing

  a student. If anyone within the school system had concerns that an employee was

  harassing a student, Steffey said DSS should have been notified. DSS would have

  conducted an investigation, and according to Steffey, the school should have relied

  on that investigation without taking any further action. He does not know of

  anything that the school system did to prevent sexual harassment of students. He

  does not remember the school system providing any training on employee sexual

  harassment of students.

        Rebecca Dye testified that she was never informed that she was the Title IX

  Coordinator until she was preparing for her deposition in this case. Dye thought

  the purpose of Title IX was to prevent discrimination in college sports and sexual

  harassment in college settings. She learned something about Title IX in 2004

  when she was working on her administrative degree. She was not involved in the

  Gobble investigation.

        Cathy Gent is the current Title IX Coordinator and oversees parental

  complaints. She became the Title IX Coordinator in 2013. When she receives a

  complaint, she writes it down in a notebook. The person receiving a complaint is


                                         -21-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 21 of 57 Pageid#: 2411
  supposed to put the complaint into writing and give it to Gent, Scotty Fletcher, the

  Alternate Title IX Compliance Officer, or their principal.        There is no set

  procedure for what is supposed to happen with the written complaint.

        Gent testified that in her mind, the standard for investigating a Title IX

  complaint is beyond a shadow of a doubt. She stated that Title IX covers race

  discrimination and applies to athletics, policies, and procedures, as well as sexual

  harassment. She testified that her duty as Title IX Coordinator is to report the

  details of complaints to the superintendent. It is her duty to investigate and to

  make sure that students have equal opportunities and are not discriminated against.

  The superintendent would decide whether or not a complaint is founded and would

  determine consequences or further action. Gent simply investigates complaints

  and passes along the information she collects. She is not required to complete any

  forms regarding complaints. Gent stated that DSS is called about every complaint

  accusing an employee of sexually harassing or assaulting a student. DSS then

  leads the investigations. School personnel can sit in on interviews, but according

  to Gent, the school does not have any obligation to gather additional information.

        Gent was not informed of the October 2012 or early 2013 DSS

  investigations of Gobble.    Hooker only told her about those investigations in

  connection with this lawsuit.     She was aware of the February 2014 police

  investigation. Hess told Gent there had been a complaint by a parent and sent Gent


                                          -22-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 22 of 57 Pageid#: 2412
  and Fletcher to LES to investigate. They talked to Price and immediately called

  DSS.    They talked to Gobble at the end of the school day, and he denied

  everything. They did not allow him to come back to school the next day. DSS

  interviewed A.M. and his mother the next morning, as well as Helbert, Gobble, and

  other students. The worker told Hess that Gent and Fletcher would be allowed to

  sit in on the interviews but were not allowed to ask any questions. Fletcher asked

  one question during one of the interviews, and the DSS worker became very upset

  and told him not to speak again.

         Gent and Fletcher watched surveillance videos and documented when

  students came and went from the custodian office. A.M. and M.S., the children of

  two school employees, were among the children shown entering and leaving the

  custodian office in the mornings. The videos showed children alone with Gobble

  in the office. Gent does not recall how many days’ worth of video footage they

  reviewed. She does not recall talking to teachers about Gobble or undertaking any

  other investigation. Gent was not informed which children Gobble had abused.

  Hess later told her that DSS was going to interview Doe. Gent never asked any

  other students whether Gobble had inappropriately touched them. She was never

  informed whether DSS determined that Gobble had abused Doe. She does not

  recall anyone telling her that Gobble had admitted to abusing anyone other than

  A.M. She did not talk to Doe’s grandparents or mother until years later. She does


                                         -23-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 23 of 57 Pageid#: 2413
  not know whether any counseling or services were offered to Doe, although she

  thinks the school told him he could talk to a guidance counselor.

        Gent has attended some trainings through the Department of Criminal

  Justice that addressed sexual harassment, but her responsibilities as Title IX

  Coordinator were not addressed. She was not required to attend these sessions but

  sought them out on her own.         She explained the concept of grooming by

  pedophiles and stated that Gobble allowed kids to play on his computer and bought

  them breakfast, which could be considered grooming. As Title IX Coordinator,

  she never educated teachers about grooming behaviors or asked them to report

  such behaviors, and she is unaware of any training on grooming that the school

  system provided to teachers.

        The School Board’s sexual harassment policy in place at the time of the

  relevant events discussed sexual harassment in general but did not specifically

  mention harassment of students by employees. It did not identify the Title IX

  Coordinator or mention a compliance officer. Gent has never asked an attorney or

  other third party to review the policy, aside from principals and administrators.

  Gent is not aware of the Title IX implementing regulations. When she became

  Title IX Coordinator, no one sat her down and explained Title IX to her. The

  school system recently conducted a civil rights review, but Gent does not know of

  any Title IX audit or review of the school system. She does not know whether


                                          -24-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 24 of 57 Pageid#: 2414
  anyone is tasked with following up with students or parents who have not signed

  and returned the sexual harassment policy acknowledgement form.

        When asked to explain the beyond a shadow of a doubt standard she uses for

  complaints, Gent explained she would look for a concrete bit of knowledge that

  proved something happened or did not happen. She would look for video evidence

  or a witness who saw the incident or something of that nature. She stated that she

  would want to be convinced beyond a reasonable doubt.

        Fletcher, the Alternate Title IX Compliance Officer, testified that it is not the

  school’s job to independently investigate complaints or concerns. Instead, the

  school’s job is to make a report to DSS and let DSS investigate. If the conduct is

  not criminal in nature, the school may discipline the employee involved. He did

  not recall any policies regarding sexual harassment or mandatory reporting. The

  school board approves the SCC, which is discussed and revised annually at a

  principal’s meeting. There is no district-wide handbook for school employees, but

  some principals have created handbooks for the staff of their schools. Fletcher

  would probably be notified if Gent received a complaint of sexual harassment of a

  student by a teacher, but there is no set procedure addressing that. He testified that

  whether he was notified would depend on how the superintendent chose to handle

  the complaint. Fletcher has received some training on Title IX through continuing

  education courses. He has never received training regarding grooming techniques


                                           -25-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 25 of 57 Pageid#: 2415
  that predators often use to gain access to children, and he is unaware of any such

  training provided by the School Board. He has been the alternate compliance

  officer for four to six years, and he has never received training on his duties as an

  alternate compliance officer. He is not aware of any survey conducted with respect

  to Title IX or sexual harassment of students.

         Over the past three decades, complaints have been made by students and

  parents against a number of Russell County teachers, coaches, and employees for

  inappropriate conduct, sexual relationships with students, and sexual harassment.

  Most of the complaints involved high school students, and the conduct varied in

  severity. The complaints were handled inconsistently and often not according to

  written policies.

         II. PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AGAINST GOBBLE.

         The plaintiff has asserted four state law claims against Gobble: negligence

  per se, assault, battery, and intentional infliction of emotional distress.      The

  plaintiff has moved for summary judgment in his favor on his claims against

  Gobble. Gobble opposes the Motion for Summary Judgment, arguing that the

  plaintiff has not adequately established that Gobble’s actions caused Doe’s

  injuries.

         Summary judgment is appropriate when “the movant shows that there is no

  genuine dispute as to any material fact and the movant is entitled to judgment as a


                                          -26-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 26 of 57 Pageid#: 2416
  matter of law.” Fed. R. Civ. P. 56(a). To raise a genuine issue of material fact

  sufficient to avoid summary judgment, the evidence must be “such that a

  reasonable jury could return a verdict for the nonmoving party.” Anderson v.

  Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). In making this determination, “the

  court is required to view the facts and draw reasonable inferences in a light most

  favorable to the nonmoving party.” Shaw v. Stroud, 13 F.3d 791, 798 (4th Cir.

  1994). “Mere unsupported speculation . . . is not enough to defeat a summary

  judgment motion.” Ennis v. Nat’l Ass’n of Bus. & Educ. Radio, Inc., 53 F.3d 55,

  62 (4th Cir. 1995).

        Count IX of the Complaint asserts a state law negligence per se claim

  against Gobble based on alleged violations of Va. Code Ann. §§ 18.2-371 and

  16.1-228.    The first statute, section 18.2-371, provides that any adult who

  “willfully contributes to, encourages, or causes any act, omission, or condition that

  renders a child delinquent, in need of services, in need of supervision, or abused or

  neglected as defined in § 16.1-228” is guilty of a Class 1 misdemeanor. Section

  16.1-228 defines “[a]bused or neglected child” to include a child “[w]hose parents

  or other person responsible for his care creates or inflicts, threatens to create or

  inflict, or allows to be created or inflicted upon such child a physical or mental

  injury by other than accidental means.” The statute defines “[c]hild in need of

  services” as “a child whose . . . condition presents or results in a serious threat to


                                           -27-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 27 of 57 Pageid#: 2417
  the well-being and physical safety of the child.”      Id.   A “[c]hild in need of

  supervision” includes “[a] child who, while subject to compulsory school

  attendance, is habitually and without justification absent from school,” if the

  school has satisfied certain requirements to procure regular attendance. Id.

        To succeed on a negligence per se claim, the plaintiff must establish that:

  (1) “the defendant violated a statute that was enacted for public safety”; (2) the

  plaintiff “belongs to the class of persons for whose benefit the statute was enacted,

  and that the harm that occurred was of the type against which the statute was

  designed to protect”; and (3) “the statutory violation was a proximate cause of his

  injury.” Halterman v. Radisson Hotel Corp., 523 S.E.2d 823, 825 (Va. 2000).

        Counts XII and XIII assert state law claims of assault and battery against

  Gobble. Under Virginia law, “[t]he tort of assault consists of an act intended to

  cause either harmful or offensive contact with another person or apprehension of

  such contact, and that creates in that other person’s mind a reasonable

  apprehension of an imminent battery.” Koffman v. Garnett, 574 S.E.2d 258, 261

  (Va. 2003).    “The tort of battery is an unwanted touching which is neither

  consented to, excused, nor justified.” Id. at 261. In Virginia, a minor under the

  age of thirteen is legally incapable of consenting to sexual acts.        Martin v.

  Commonwealth, 630 S.E.2d 291, 292 (Va. 2006); Va. Code Ann. §§ 18.2-67.1,

  18.2-67.3. “[T]he quality of the act’s offensiveness is judged by an objective


                                          -28-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 28 of 57 Pageid#: 2418
  standard, not by whether the plaintiff found the act offensive.”          Balas v.

  Huntington Ingalls Indus., Inc., 711 F.3d 401, 411 (4th Cir. 2013) (citing

  Restatement (Second) of Torts § 18 (Am. Law Inst. 1965)).

        Count XIV asserts a claim of intentional infliction of emotional distress

  against Gobble. Under Virginia law, a plaintiff alleging intentional infliction of

  emotional distress must prove the following elements:        “(i) the wrongdoer’s

  conduct was intentional or reckless, (ii) the conduct was outrageous and

  intolerable, (iii) the alleged wrongful conduct and emotional distress are causally

  connected, and (iv) the distress is severe.” Ostolaza-Diaz v. Countrywide Bank,

  N.A., 360 F. App’x 504, 507 (4th Cir. 2010) (unpublished) (citing Ogunde v.

  Prison Health Servs., 645 S.E.2d 520, 526 (Va. 2007)). The second element

  requires that the conduct was “so outrageous in character, and so extreme in

  degree, as to go beyond all possible bounds of decency, and to be regarded as

  atrocious, and utterly intolerable in a civilized community.” Russo v. White, 400

  S.E.2d 160, 162 (Va. 1991) (internal quotation marks and citation omitted).

        Gobble’s only argument opposing summary judgment on all of these claims

  is a speculative contention that other factors, rather than Gobble’s abuse, might

  have caused Doe’s emotional distress and psychological injuries. There is ample

  evidence in the record to satisfy the elements of all of the claims against Gobble,

  and Gobble has offered no evidence in opposition to the plaintiff’s motion. I find


                                         -29-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 29 of 57 Pageid#: 2419
  that there is no genuine dispute of material fact as to the claims against Gobble,

  and that Doe is entitled to judgment as a matter of law against Gobble on Counts

  IX, XII, XIII, and XIV.

            III. SCHOOL DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT.

        The School Defendants previously moved to dismiss the plaintiff’s claims

  against them, and I partially granted that motion. Doe v. Russell Cty. Sch. Bd., No.

  1:16CV00045, 2017 WL 1374279 (W.D. Va. Apr. 13, 2017).                    Following

  disposition of the Motion to Dismiss, the remaining claims against the School

  Board consist of two claims (Counts I and II) under Title IX of the Educational

  Amendments of 1972 and one claim pursuant to 42 U.S.C. § 1983 (Count III)

  based on a failure-to-train theory. In addition, there are three pending claims

  against Henley and Hooker each in their individual capacities ņ a § 1983

  supervisory liability claim (Counts IV and V), a § 1983 failure-to-train claim

  (Count III), and a state law gross negligence claim (Count XI). The School

  Defendants have now moved for summary judgment in their favor on all of these

  remaining claims.

                                      A. Count I.

        Count I claims that the School Board’s actions and inactions violated Title

  IX of the Educational Amendments of 1972, 20 U.S.C. §§ 1681-1688. Title IX

  states that “[n]o person in the United States shall, on the basis of sex, be excluded


                                          -30-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 30 of 57 Pageid#: 2420
  from participation in, be denied the benefits of, or be subjected to discrimination

  under any education program or activity receiving Federal financial assistance.”

  20 U.S.C. § 1681(a). This prohibition encompasses sexual harassment or abuse of

  a student by a public school employee, for which money damages can be awarded

  in a private legal action. See generally Franklin v. Gwinnett Cty. Pub. Schs., 503

  U.S. 60 (1992).

                To establish a Title IX claim on the basis of sexual harassment,
        a plaintiff must show that (1) she was a student at an educational
        institution receiving federal funds, (2) she was subjected to
        harassment based on her sex, (3) the harassment was sufficiently
        severe or pervasive to create a hostile (or abusive) environment in an
        educational program or activity, and (4) there is a basis for imputing
        liability to the institution.

  Jennings v. Univ. of N.C., 482 F.3d 686, 695 (4th Cir. 2007). In Gebser v. Lago

  Vista Independent School District, 524 U.S. 274, 277 (1989), the Supreme Court

  held that under Title IX, a school district is not liable for damages based on sexual

  harassment of a student by a teacher “unless an official of the school district who at

  a minimum has authority to institute corrective measures on the district’s behalf

  has actual notice of, and is deliberately indifferent to, the teacher’s misconduct.”

  The Court adopted that rule because the Title IX remedial scheme “is predicated

  upon notice to an ‘appropriate person’ and an opportunity to rectify any violation,”

  and the Court defined an “appropriate person” as “an official of the [federal

  funding] recipient entity with authority to take corrective action to end the


                                           -31-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 31 of 57 Pageid#: 2421
  discrimination.” Gebser, 524 U.S. at 290 (citation omitted). The appropriate

  person, and thus the school board, is deliberately indifferent to sexual harassment

  where the response to notice of misconduct is “clearly unreasonable in light of the

  known circumstances.” Davis v. Monroe Cty. Bd. of Educ., 526 U.S. 629, 648

  (1999).

        I previously ruled that Hooker, as LES principal, was an appropriate person

  as defined by Gebser. Doe, 2017 WL 1374279, at *6. Doe has produced evidence

  that Hooker had actual notice of misconduct based on Charlene’s complaints to

  DSS and the resulting DSS investigations that occurred in late 2012 and early

  2013. The School Board argues that as a matter of law, it was not deliberately

  indifferent because Hooker’s response to the DSS investigations was reasonable in

  light of the fact that Doe’s guardians approved of and encouraged Gobble’s role in

  Doe’s life, and DSS concluded that Charlene’s complaints were unfounded. While

  the School Board can certainly make that argument to the jury at trial, I find that

  the plaintiff has offered sufficient evidence from which reasonable jurors could

  conclude that Hooker’s response to the DSS investigations was clearly

  unreasonable in light of the known circumstances.

        Hess, the superintendent and Hooker’s boss during the 2012-13 school year,

  testified that Hooker had an obligation to conduct her own investigation of Gobble

  after Charlene complained of an inappropriate relationship with Doe. Through the


                                         -32-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 32 of 57 Pageid#: 2422
  DSS investigation, Hooker learned that Doe, a particularly vulnerable elementary

  school student, was living in the same bedroom with a school employee to which

  he was unrelated. She further learned that Doe’s relationship with Gobble was

  causing problems in Gobble’s marriage, and she described Charlene as being

  jealous of Doe. In addition, Hooker knew that Doe was regularly spending time

  with Gobble at LES behind closed doors, both during the school day and when

  school was not in session.     Some of the facts are in dispute and Hooker’s

  credibility is at issue, but jurors could reasonably find from the record evidence

  that Hooker undertook little to no investigation in response to this knowledge and

  did virtually nothing to increase her supervision of Gobble or limit Gobble’s access

  to Doe.     Reasonable jurors could conclude that Hooker’s inaction allowed

  Gobble’s abuse of Doe to continue for months longer than it might otherwise have

  occurred.

        The question of what constitutes a clearly unreasonable response in light of

  known circumstances is one best answered by the finder of fact, particularly in a

  complicated case like this one. Because there are factual disputes and credibility

  issues that must be resolved by a jury, I will deny the Motion for Summary

  Judgment as to Count I.




                                          -33-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 33 of 57 Pageid#: 2423
                                         B. Count II.

         Count II charges the School Board with violating Title IX by failing to take

  corrective action after Gobble’s confession and arrest. The plaintiff claims that

  despite actual knowledge of abuse, the School Board failed to “provide, offer,

  recommend, or coordinate adequate health, psychological, counseling, and

  academic assistance and services to Plaintiff to minimize the harm he suffered,”

  Compl. ¶ 110, and failed to terminate or discipline any School Board personnel as

  a result of their handling of the situation.2 According to the plaintiff, this inaction

  constituted deliberate indifference and materially impaired Doe’s access to

  educational opportunities and benefits. The School Board contends it is entitled to

  summary judgment on this claim because failure to provide counseling does not

  amount to a viable cause of action, Doe moved out of Russell County and was not

  a student for a period of time after Gobble’s confession, and Jane Doe testified that

  Doe does not want counseling at this time.

         The premise of a school board’s liability under Title IX “is an official

  decision by the recipient not to remedy the violation.” Gebser, 524 U.S. at 290.

  OCR has issued guidance, in the form of a Dear Colleague Letter, that once a

         2
           In an earlier brief, the plaintiff stated that Counts I and II “may be considered
  together as constituting Plaintiff’s Title IX claim.” Pl.’s Br. in Opp’n to Sch. Defs.’ Mot.
  to Dismiss for Lack of Subject Matter Jurisdiction and Failure to State a Claim 12-13,
  n.4, ECF No. 24. However, the plaintiff has never sought to amend the Complaint to
  combine these two claims, so I will continue to treat them as separate claims.

                                              -34-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 34 of 57 Pageid#: 2424
  school knows of sexual harassment of a student, it must take steps not only to end

  the harassment, but also to “prevent its recurrence, and remedy its effects.” U.S.

  Dep’t of Educ., Office for Civil Rights, Dear Colleague Letter (Jan. 25, 2006),

  www2.ed.gov/about/offices/list/ocr/letters/sexhar-2006.pdf; see also 34 C.F.R. §

  106.3 (requiring schools to take remedial action “to overcome the effects of”

  discrimination on the basis of sex). Addressing cases of student-on-student sexual

  violence, OCR has stated that “[i]n addition to counseling or taking disciplinary

  action against the harasser, effective corrective action may require remedies for the

  complainant, as well as changes to the school’s overall services or policies.” U.S.

  Dep’t of Educ., Office for Civil Rights, Dear Colleague Letter (Apr. 4, 2011)

  (archived) at 15, www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf.

  Though these statements represent OCR policy in the context of administrative

  enforcement actions rather than private lawsuits, they bear upon the question of

  whether the School Board’s response to known sexual abuse of a student was

  appropriate and adequate in this case, or whether the School Board responded with

  deliberate indifference by failing to take remedial measures following Gobble’s

  arrest.

            The fact that Doe ceased to be a student for some period of time following

  Gobble’s confession is not a reason to rule in favor of the School Board on this

  claim as a matter of law. There is evidence that Doe continued to attend LMS for


                                            -35-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 35 of 57 Pageid#: 2425
  some days or weeks following Gobble’s confession and arrest, and in any event, he

  ultimately returned to Russell County and is a student there now. Moreover, Jane

  Doe’s testimony that Doe does not currently want to undergo counseling at best

  creates a factual dispute.   Doe himself testified that he does wish to receive

  counseling, and in any event, Doe’s statements or wishes regarding counseling

  would not have prevented the School Board from offering it.

        I find that the plaintiff has presented sufficient evidence from which a jury

  could conclude that the School Board acted with deliberate indifference to

  Gobble’s confessed abuse of Doe by failing to offer counseling or other remedial

  measures to Doe. In addition, a jury could conclude that the School Board failed to

  take action necessary to prevent future harassment, such as training or disciplining

  personnel or revising applicable policies, and thus did not comply with its

  obligations under Title IX. I will deny the Motion for Summary Judgment as to

  Count II.

                                     C. Count III.

        Count III is a failure-to-train claim asserted against all three of the School

  Defendants under 42 U.S.C. § 1983.         It is based on the violation of Doe’s

  Fourteenth Amendment substantive due process right to bodily integrity and to be

  free from sexual abuse by a school employee, as well as his property interest in a

  public education. The School Defendants argue that they are entitled to summary


                                          -36-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 36 of 57 Pageid#: 2426
  judgment on this claim because they were unaware of any deficiency in training,

  and any such deficiency was not a proximate cause of the sexual abuse. Henley

  and Hooker also assert qualified immunity.

        “[T]here are limited circumstances in which an allegation of a ‘failure to

  train’ can be the basis for liability under § 1983.” City of Canton v. Harris, 489

  U.S. 378, 387 (1989). In the school context, the failure to train must amount to

  deliberate indifference to the rights of students, and the deficiency in training

  “must be closely related to the ultimate injury.” Id. at 391. “Where a plaintiff

  claims that the [governmental body] has not directly inflicted an injury, but

  nonetheless has caused an employee to do so, rigorous standards of culpability and

  causation must be applied to ensure that the [governmental body] is not held liable

  solely for the actions of its employee.” Bd. of Cty. Comm’rs v. Brown, 520 U.S.

  397, 405 (1997).

        The School Defendants’ “continued adherence to an approach that they

  know or should know has failed to prevent tortious conduct by employees may

  establish the conscious disregard for the consequences of their action — the

  ‘deliberate indifference’ — necessary to trigger [public entity] liability.” Id. at

  407. “Without notice that a course of training is deficient in a particular respect,

  decisionmakers can hardly be said to have deliberately chosen a training program

  that will cause violations of constitutional rights.” Connick v. Thompson, 563 U.S.


                                          -37-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 37 of 57 Pageid#: 2427
  51, 62 (2011). Notice can be established by showing that the need for the training

  and the risks of not providing the training were obvious. See Canton, 489 U.S. at

  390; Jordan ex rel. Jordan v. Jackson, 15 F.3d 333, 341 (4th Cir. 1994).

        I find that the plaintiff has produced sufficient evidence that the School

  Defendants had notice of deficient training either based on past incidents of sexual

  misconduct against students by School Board employees or because the need for

  training was obvious.    The plaintiff offered evidence of past complaints and

  investigations of employee-on-student harassment by seven School Board

  employees, several of whom were repeat offenders. Incidents involving five of the

  seven employees occurred less than ten years before Gobble began abusing Doe,

  and at least two of the incidents occurred around the same time period that Gobble

  began abusing Doe. A jury could conclude that these incidents placed the School

  Defendants on notice that they needed to provide training to administrators,

  teachers, and staff on how to identify, prevent, and investigate employee-on-

  student sexual harassment.

        Even without this history, however, a jury could reasonably conclude that

  the School Defendants’ need to thoroughly train administrators, teachers, and staff

  on how to spot and address sexual misconduct was obvious. In 1998, thirteen

  years before Gobble began to prey upon Doe, the Supreme Court wrote:

              The number of reported cases involving sexual harassment of
        students in schools confirms that harassment unfortunately is an all
                                          -38-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 38 of 57 Pageid#: 2428
        too common aspect of the educational experience. No one questions
        that a student suffers extraordinary harm when subjected to sexual
        harassment and abuse by a teacher, and that the teacher’s conduct is
        reprehensible and undermines the basic purposes of the educational
        system.

  Gebser, 524 U.S. at 292.      The plaintiff has pointed to numerous guidance

  documents issued by OCR and the Virginia Department of Education conveying to

  educators the extent of the sexual harassment problem in schools and the need to

  provide adequate training, adopt appropriate policies, and conduct thorough and

  timely investigations. The deposition testimony of many of the school employee

  witnesses in this case suggests that they received little or no training from the

  School Defendants on how to identify warning signs of sexual harassment, the

  steps they should take to prevent sexual harassment, how to investigate complaints,

  and how to remedy sexual harassment. Based on the record evidence, a jury could

  reasonably conclude that whatever training the School Defendants provided on

  these topics was woefully inadequate.

        I further find that whether insufficient training was closely related to the

  ultimate injuries suffered by Doe is a jury question. There is evidence that would

  justify the conclusion that teachers and administrators overlooked numerous red

  flags and encouraged Gobble’s relationship with Doe, which may have

  emboldened Gobble and intensified the abuse.        It is undisputed that Gobble

  molested Doe on LES grounds on a number of occasions, when he was


                                          -39-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 39 of 57 Pageid#: 2429
  unquestionably under the supervisory control of the School Defendants.           The

  School Board was Gobble’s employer and was responsible for ensuring the safety

  of Doe in the school environment.       A jury could find that had teachers and

  administrators been better trained to spot and respond to signs of abuse, they might

  have curtailed Gobble’s access to students while at LES and instructed him not to

  interact with non-family related students outside of school, regardless of what the

  students’ parents permitted. Had he failed to comply with such a directive, the

  School Defendants could have taken disciplinary action against him, which may

  have discouraged the abuse, or even terminated him, which might have affected

  Doe’s guardians’ perception of Gobble. Jane Doe testified that she trusted Gobble

  because he was a school employee, and teachers and administrators presented him

  as a positive influence on Doe. Had school officials raised concerns to her about

  Gobble, she may have ended Doe’s contact with Gobble sooner or restricted their

  unsupervised interactions. A jury could conclude that the DSS investigations may

  have proceeded differently had Gobble’s wife not been the only complainant, or

  had teachers voiced concerns to the DSS investigators about Gobble’s behavior. In

  sum, there is sufficient evidence to allow a jury to infer that a lack of appropriate

  training proximately contributed to Doe’s constitutional injuries.

        Henley and Hooker contend that they are entitled to qualified immunity on

  Count III. A § 1983 claim requires proof of the following three elements: “(1) the


                                          -40-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 40 of 57 Pageid#: 2430
  deprivation of a right secured by the Constitution or a federal statute; (2) by a

  person; (3) acting under color of state law.” Jenkins v. Medford, 119 F.3d 1156,

  1159-60 (4th Cir. 1997). While state officials sued in their official capacities are

  not “persons” under § 1983, Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71

  (1989), state officials sued in their individual capacities are “persons” within the

  meaning of the statute and are not absolutely immune from suit, Hafer v. Melo, 502

  U.S. 21, 31 (1991). A government official sued in his individual capacity under

  § 1983 may, however, be entitled to qualified immunity. Id. at 25 (“[O]fficials

  sued in their personal capacities . . . may assert personal immunity defenses such as

  objectively reasonable reliance on existing law.”)

        Qualified immunity “shields government officials from liability for civil

  damages, provided that their conduct does not violate clearly established statutory

  or constitutional rights within the knowledge of a reasonable person.” Meyers v.

  Balt. Cty., 713 F.3d 723, 731 (4th Cir. 2013). The doctrine “seeks to balance two

  interests, namely, the need to hold public officials accountable when they exercise

  power irresponsibly and the need to shield officials from harassment, distraction,

  and liability when they perform their duties reasonably.” Sims v. Labowitz, 877

  F.3d 171, 177 (4th Cir. 2017) (internal quotation marks and citations omitted).

  Qualified immunity is immunity from suit rather than merely immunity from

  liability; therefore, the question of qualified immunity should be decided before


                                          -41-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 41 of 57 Pageid#: 2431
  trial. Id. A defendant asserting qualified immunity has the burden of proving the

  defense. Id.

        “To overcome the qualified immunity defense at the summary judgment

  stage, the plaintiff must have shown facts that make out a violation of a

  constitutional right, and the right at issue must have been clearly established at the

  time of the defendant’s alleged misconduct.” Thompson v. Virginia, 878 F.3d 89,

  97 (4th Cir. 2017) (internal quotation marks and citations omitted). In assessing

  whether a defendant is entitled to qualified immunity, the court must first

        identify the specific right that the plaintiff asserts was infringed by the
        challenged conduct. [The court] then engage[s] in a two-step inquiry,
        asking whether a constitutional violation occurred and whether the
        right violated was clearly established at the time of the official’s
        conduct. Courts have discretion to take these steps in either order.

        . . . A right is clearly established only if its contours are sufficiently
        clear that a reasonable official would understand that what he is doing
        violates that right. The unlawfulness of the official’s conduct must be
        apparent in light of pre-existing law. To be clearly established,
        existing precedent must have placed the statutory or constitutional
        question beyond debate.

  Booker v. S.C. Dep’t of Corr., 855 F.3d 533, 537-38 (4th Cir. 2017) (internal

  quotation marks and citations omitted).

        The Fourth Circuit has stated that “[u]nder established precedent,” students

  have a right to bodily integrity and to be free from sexual abuse by state actors.

  Doe v. Rosa, 795 F.3d 429, 436-37 (citing Hall v. Tawney, 621 F.2d 607, 612-13

  (4th Cir. 1980)).     Doe’s constitutional right to be free from school-based
                                            -42-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 42 of 57 Pageid#: 2432
  molestation was clearly established at the time of these events. Henley and Hooker

  argue, however, that they were confronted with an unusual situation in that Doe’s

  guardians allowed Gobble to be Doe’s caretaker. The principals assert that this

  specific situation was unlikely to occur with any regularity, and reasonable

  principals would not have known that they needed to provide training regarding

  such a circumstance.

        The Supreme Court and Fourth Circuit have admonished that “courts must

  not define clearly established law at a high level of generality,” but must instead

  “examine whether the violative nature of [a defendant’s] particular conduct is

  clearly established . . . in light of the specific context of the case, not as a broad

  general proposition.” E.W. v. Dolgos, No. 16-1608, 2018 WL 818303, at * 8 (4th

  Cir. Feb. 12, 2018) (internal quotation marks and citations omitted). The plaintiff

  has not pointed the court to any controlling authority sufficiently similar to the

  situation confronted by Henley and Hooker in this case, where a student’s parent or

  guardian expressly approved of a child living with a school employee and a local

  agency investigated complaints and concluded they were unfounded. Although the

  evidence could support a finding that Henley and Hooker were deliberately

  indifferent in their failure to provide training, existing precedent did not provide

  them sufficient notice that their conduct would give rise to a violation of

  constitutional rights. They are therefore entitled to qualified immunity, and I will


                                           -43-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 43 of 57 Pageid#: 2433
  grant the Motion for Summary Judgment with respect to Count III as to Henley

  and Hooker. I will deny the motion as to the School Board.

                                     D. Count IV.

        Count IV is a § 1983 supervisory liability claim against Henley.           The

  plaintiff alleges that Henley had actual or constructive knowledge of conduct by

  Gobble that posed a pervasive and unreasonable risk of constitutional injury to

  Doe, and that Henley responded with deliberate indifference.          Henley again

  contends that he did not have knowledge that Gobble posed any risk in light of

  Doe’s guardians’ approval of Gobble’s activities, and that any failure of Henley to

  investigate or take action was not the proximate cause of Doe’s injuries.

        In order to establish supervisory liability under § 1983 in a case like this, a

  plaintiff must show that (1) the defendant in a supervisory position had knowledge

  (actual or constructive) that his subordinate was engaged in conduct that “posed a

  pervasive and unreasonable risk of constitutional injury to citizens like the

  plaintiff”; (2) the response by the defendant was so inadequate as to show

  deliberate indifference; and (3) there was a causal link between the inaction and the

  injury suffered by the plaintiff. Baynard v. Malone, 268 F.3d 228, 235 (4th Cir.

  2001). The Fourth Circuit has defined constructive knowledge as “[k]nowledge

  that one using reasonable care or diligence should have, and therefore that is




                                          -44-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 44 of 57 Pageid#: 2434
  attributed by law to a given person.” Hoschar v. Appalachian Power Co., 739 F.3d

  163, 175 (4th Cir. 2014) (citation omitted).

        The plaintiff has produced evidence from which a jury could find that

  Henley had actual knowledge of the following facts:

        x      Gobble brought Doe to school in the mornings, and Doe left school

               with Gobble at the end of the day;

        x      Doe was spending time at Gobble’s house;

        x      Gobble took Doe and Gobble’s nephews to dinner in Bristol, Virginia,

               which is located a distance from Russell County;

        x      Gobble was regularly at school several hours before his shift began;

        x      Gobble spent time in the custodian office with children before school

               started;

        x      Teachers would send students, alone, to the custodian office during

               the school day to get supplies;

        x      Doe spent time in the custodian office after school;

        x      Gobble spent time in the custodian office with Doe and other children

               with the door closed;

        x      Doe and Gobble’s nephews were with Gobble at LES when school

               was not in session; and

        x      Gobble removed Doe and other students from classes to collect trash.

                                          -45-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 45 of 57 Pageid#: 2435
        From this actual knowledge, a jury could reasonably conclude that Henley

  had a duty to monitor Gobble more closely and conduct an investigation. A jury

  could conclude that a reasonably prudent principal should have discovered all of

  the other red flags of which teachers were aware, including Gobble’s singling out

  of Doe, marital problems, tendency to hug Doe and pat him on the head, frequent

  and relatively expensive gifts to Doe, and more. While individual teachers might

  not have regarded isolated incidents as red flags, a jury could find that a reasonable

  principal with knowledge of all of these facts should have recognized the risk

  Gobble posed to Doe and taken action to limit that risk. A jury could also impute

  to Henley constructive knowledge of facts that may have been gleaned from

  security camera footage or from asking detailed questions of Doe’s family

  members. I find that this actual and constructive knowledge, if found by the jury,

  would be sufficient to satisfy the first element of Doe’s supervisory liability claim

  against Henley.

        As to proximate causation, I again find that it is a jury issue for the reasons

  stated above with respect to Doe’s failure-to-train claim. Contrary to the School

  Defendants’ assertions, the home approval and the results of a poorly conducted

  DSS investigation do not necessarily mean that there was nothing more that could

  have been done to detect and halt Gobble’s abuse of Doe. A jury could reasonably

  conclude that Henley’s lack of diligence facilitated and perpetuated Gobble’s


                                           -46-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 46 of 57 Pageid#: 2436
  abuse. Indeed, the undisputed facts show that Henley was Gobble’s supervisor for

  years before Doe began attending LES, and Gobble gained access to Doe and

  developed a relationship with him through his employment at LES. A jury might

  find that more careful supervision of Gobble from the start of his employment

  could have prevented Gobble from ever forming that relationship in the first place.

        As with Count III, Henley contends that he is entitled to qualified immunity

  on Count IV. The question as to this count is whether a reasonable principal with

  Henley’s knowledge would have known that failure to properly supervise Gobble

  was likely to cause a violation of clearly established constitutional rights. Drawing

  all inferences in favor of the plaintiff, for the reasons stated as to Count III, I

  conclude that Henley did not have sufficient notice that his conduct was

  unconstitutional. Therefore, I will grant the Motion for Summary Judgment as to

  Count IV.

                                      E. Count V.

        Count V asserts supervisory liability under § 1983 against Hooker. The

  plaintiff has offered evidence that Hooker’s actual knowledge far exceeded that of

  Henley. Viewing that evidence in the light most favorable to the plaintiff, Hooker

  knew all of the things that Henley knew, plus she learned that Gobble’s wife was

  jealous of Doe and complained to DSS about their relationship, and that Doe and

  Gobble were living together in the same bedroom. The constructive knowledge


                                          -47-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 47 of 57 Pageid#: 2437
  that could be imputed to her likewise continued to grow during her term as

  principal of LES, as teachers witnessed more of Gobble’s behavior and his

  interactions with Doe. For instance, teachers became concerned that Gobble was

  singling out Doe for preferential treatment and learned that Gobble was obsessed

  with adopting Doe and was willing to end his marriage over his wife’s complaints

  about Doe. For the reasons stated above as to the supervisory liability claim

  against Henley, I find that the plaintiff has presented sufficient evidence to

  overcome the School Defendants’ Motion for Summary Judgment as to the first

  and third elements of the supervisory liability claim against Hooker.

        Hooker argues that as a matter of law, she was not deliberately indifferent.

  A number of the facts surrounding Hooker’s actions regarding Gobble are in

  dispute. It appears to be undisputed that she instructed teachers not to allow

  Gobble to remove students from class to help him with his janitorial duties,

  although it is unclear whether that action was taken in response to mounting

  knowledge of potential abuse. It is undisputed that Hooker sat in on the DSS

  interviews of Gobble and Doe and that she did not ask any questions in those

  interviews. It is undisputed that she did not review security camera footage of

  Gobble’s activities at LES. She may have talked to certain teachers and family

  members about Gobble, but what she asked in those alleged conversations is

  disputed. The occurrence and content of any conversations she had with Gobble


                                          -48-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 48 of 57 Pageid#: 2438
  are also in dispute. These factual disputes would need to be resolved by a jury, as

  the scant undisputed facts are insufficient for me to conclude as a matter of law

  that Hooker did not act with deliberate indifference to the knowledge that Gobble

  posed an unreasonable risk to Doe.

        However, like Henley, Hooker asserts that she is entitled to qualified

  immunity on Doe’s supervisory liability claim. I again conclude that, when faced

  ZLWK WKH XQXVXDO VFHQDULR SUHVHQWHG KHUH ņ H[SUHVV home approval of the child

  spending time alone with the school employee and a local agency’s investigation

  DQGXQIRXQGHGGLVSRVLWLRQRIFRPSODLQWVņH[isting precedent did not give Hooker

  adequate notice that her failure to more thoroughly investigate and supervise

  Gobble was likely to amount to a constitutional violation. Therefore, I must grant

  Hooker’s Motion for Summary Judgment as to Count V on the ground of qualified

  immunity.

                                       F. Count XI.

        Count XI asserts a claim of gross negligence under Virginia law against

  Henley and Hooker. They assert that they are entitled to summary judgment on

  this claim because the plaintiff has not produced evidence that would allow a

  rational jury to conclude that their conduct rose to the level of negligence required

  to succeed on a gross negligence claim.




                                            -49-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 49 of 57 Pageid#: 2439
           “Gross negligence is a degree of negligence showing indifference to another

  and an utter disregard of prudence that amounts to a complete neglect of the safety

  of such other person.” Elliott v. Carter, 791 S.E.2d 730, 732 (Va. 2016) (internal

  quotation marks and citation omitted). The tort “requires a degree of negligence

  that would shock fair-minded persons, although demonstrating something less than

  willful recklessness.” Id. (citations omitted). “Ordinarily, the question whether

  gross negligence has been established is a matter of fact to be decided by a jury.

  Nevertheless, when persons of reasonable minds could not differ upon the

  conclusion that such negligence has not been established, it is the court’s duty to so

  rule.”    Id. (citation omitted).   “Because the standard for gross negligence in

  Virginia is one of indifference, not inadequacy, a claim for gross negligence must

  fail as a matter of law when the evidence shows that the defendants exercised some

  degree of care.” Id. (internal quotation marks, alterations, and citations omitted).

           In short, the standard for gross negligence in Virginia is very high. As to

  Henley, I find that the plaintiff has not produced evidence showing that he acted in

  a way that would shock a reasonable person or that exhibited a complete neglect of

  Doe’s safety. As to Hooker, the undisputed facts reveal that she undertook some

  degree of care, however slight, with regard to Doe’s safety when she sat in on DSS

  interviews, called Doe’s grandmother to verify that she gave permission for

  Gobble to give Doe rides, and instructed teachers not to allow Gobble to remove


                                           -50-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 50 of 57 Pageid#: 2440
  students from class to collect trash. For these reasons, I will grant the Motion for

  Summary Judgment as to Count XI.

         IV. SCHOOL DEFENDANTS’ MOTION TO EXCLUDE EXPERT TESTIMONY.

        The School Defendants have filed a motion in limine to exclude the

  testimony of two of plaintiff’s disclosed expert witnesses at trial, Charol M.

  Shakeshaft, Ph.D., and Richard S. Epstein, M.D. Dr. Shakeshaft, a professor of

  education at Virginia Commonwealth University, is expected to testify that the

  School Defendants “failed to adopt, enforce, and/or train on appropriate policies,

  practices, and procedures to protect students from sexual abuse as that suffered by

  Plaintiff.” Pl.’s Disclosures 2, ECF No. 61-1. Dr. Epstein, a psychiatrist, is

  expected to testify “regarding past, present, and future psychological pain,

  suffering, and impairment” occasioned by the sexual abuse of the plaintiff, as well

  as his “future treatment needs.” Id. at 1-2.

        The case of Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

  (1993), provides the basic analytical framework for determining the admissibility

  of expert testimony. Under Daubert, the court acts as a “gatekeeper” by ensuring

  “that any and all scientific testimony or evidence admitted is not only relevant, but

  reliable.” Id. at 589. “[T]he trial judge’s general ‘gatekeeping’ obligation . . .

  applies not only to testimony based on ‘scientific’ knowledge, but also to

  testimony based on ‘technical’ and ‘other specialized’ knowledge.”


                                           -51-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 51 of 57 Pageid#: 2441
  Co. v. Carmichael, 526 U.S. 137, 141 (1999). The trial court’s inquiry into

  admissibility is “a flexible one” and the court’s analysis will “depend[] on the

  nature of the issue, the expert’s particular expertise, and the subject of his

  testimony.” See id. at 150 (internal quotation marks and citation omitted). More

  generally, cases after Daubert have shown that “the rejection of expert testimony is

  the exception rather than the rule.” Fed. R. Evid. 702 advisory committee’s note to

  2000 amendment.

        The principles of Daubert and its progeny are reflected in the Federal Rules

  of Evidence, which allow expert evidence under certain circumstances:

              A witness who is qualified as an expert by knowledge, skill,
        experience, training, or education may testify in the form of an
        opinion or otherwise if:

              (a) the expert’s scientific, technical, or other specialized
        knowledge will help the trier of fact to understand the evidence or to
        determine a fact in issue;

              (b) the testimony is based on sufficient facts or data;

             (c) the testimony is the product of reliable principles and
        methods; and

               (d) the expert has reliably applied the principles and methods to
        the facts of the case.

  Fed. R. Evid. 702.

        As stated by the advisory committee:

              When facts are in dispute, experts sometimes reach different
        conclusions based on competing versions of the facts. The emphasis
                                          -52-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 52 of 57 Pageid#: 2442
        in the amendment on “sufficient facts or data” is not intended to
        authorize a trial court to exclude an expert’s testimony on the ground
        that the court believes one version of the facts and not the other.

  Fed. R. Evid. 702 advisory committee’s note to 2000 amendment. The reality is

  that “the trial court’s role as gatekeeper is not intended to serve as a replacement

  for the adversary system.” Id. (quoting United States v. 14.38 Acres, 80 F.3d 1074,

  1078 (5th Cir. 1996)).      As noted in Daubert, “[v]igorous cross-examination,

  presentation of contrary evidence, and careful instruction on the burden of proof

  are the traditional and appropriate means of attacking shaky but admissible

  evidence.” 509 U.S. at 596.

        “Testimony from an expert is presumed to be helpful unless it concerns

  matters within the everyday knowledge and experience of a lay juror.” Kopf v.

  Skyrm, 993 F.2d 374, 377 (4th Cir. 1993). Issues associated with the admission of

  expert testimony may arise when “the evaluation of the commonplace by an expert

  witness might supplant a jury’s independent exercise of common sense.” Id.

  (internal quotation marks and citation omitted).

                                   A. Dr. Shakeshaft.

        At oral argument on the present motion, plaintiff’s counsel conceded that it

  would be inadmissible to elicit from Dr. Shakeshaft the opinions set forth in her

  Rule 29(a)(2) disclosure that the School Defendants were “deliberately indifferent”

  to the risk of harm to the plaintiff and that the failure to provide adequate policy or


                                           -53-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 53 of 57 Pageid#: 2443
  training was a proximate cause of the sexual abuse by Gobble. I agree with the

  School Defendants that under the particular circumstances of this case, such

  opinions are beyond the proper role of an expert witness and would supplant the

  jury’s role in evaluating and determining the facts. See United States v. Barile, 286

  F.3d 749, 760 (4th Cir. 2002) (noting that “[e]xpert testimony that merely states a

  legal conclusion is less likely to assist the jury in its determination”).

        Otherwise, I find no grounds to exclude the testimony of Dr. Shakeshaft.

  While certainly subject to cross examination, her professional qualifications permit

  her to opine on the standard of care in adopting and enforcing school policies

  relating to the prevention of sexual abuse of students by school personnel.3

  Whether she considered all of the relevant facts in the case sufficient to state a

  credible opinion on whether the School Defendants met that standard of care is a

  matter for the jury, based upon all of the evidence in the case.

                                      B. Dr. Epstein.

        The School Defendants do not attack Dr. Epstein’s professional

  qualifications as an expert on the effects on child victims of sexual abuse, or on the

  appropriate medical treatment of such children. They do not dispute his opinion


        3
            Among other things, Dr. Shakeshaft testified in her deposition that she helped
  write the guidelines for prevention of sexual misconduct and abuse in public schools
  approved by the Virginia State Board of Education in 2011. Shakeshaft Dep. 29-30, ECF
  No. 67-2.

                                             -54-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 54 of 57 Pageid#: 2444
  that the plaintiff suffers from PTSD as a result of his sexual abuse by Gobble.

  Rather, they contend that he has not stated a foundation for his opinions that the

  plaintiff will require over his lifetime up to 60 days of psychiatric hospitalization

  and two out-patient visits per week with a psychiatrist, all as a result of the sexual

  abuse by Gobble. They argue that he has not offered any literature or data to

  support these opinions, and that his opinion on future hospitalization is speculative

  because it is based on “an unforeseen thing,” such “a parent dying, or a

  grandparent dying” or “future trauma . . . . [t]hat happens to a lot of people.”

  Epstein Dep. 138-39, ECF No. 61-6.

        The plaintiff does not contest that Dr. Epstein has not referenced studies,

  data, or medical literature to support his challenged opinions, but argues that these

  opinions are admissible because they are based on his “many years of experience

  and expertise.” Pl’s Br. in Opp’n 4, ECF No. 67.

        It is correct that Dr. Epstein has an impressive curriculum vitae, and over a

  lengthy medical practice, has written and lectured on the diagnosis and treatment

  of PTSD, including that of children with the affliction. It is also true that relevant

  experience by an expert may be sufficient to support the admissibility of his

  opinions. See Fed. R. Evid. 702 advisory committee’s note to 2000 amendment

  (stating that “the text of Rule 702 expressly contemplates that an expert may be

  qualified on the basis of experience [and] [i]n certain fields, experience is the


                                           -55-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 55 of 57 Pageid#: 2445
  predominant, if not sole, basis for a great deal of reliable expert testimony”).

  Unfortunately, however, the record provided by the parties as to Dr. Epstein’s

  opinions is very sparse. It does not contain his full Rule 29(a)(2) disclosure and

  only snippets from his deposition testimony. I do not find on the present record

  that Dr. Epstein has given any explanation for the basis of his challenged opinions.

  Do these opinions in fact come from his experience with other patients comparable

  to the plaintiff? Perhaps yes, but I cannot tell at this point.

        When objected to, the proponent of expert testimony has the burden of proof

  to demonstrate its admissibility. See Margaret A. Berger, Procedural Paradigms

  for Applying the Daubert Test, 78 Minn. L. Rev. 1345, 1365 (1994). The court has

  wide discretion in resolving Daubert issues, and under the circumstances, I will

  allow the plaintiff to supplement its response to the School Defendants’ objections

  as to Dr. Epstein’s proposed testimony.

                                     V. CONCLUSION.

        For the reasons stated, it is ORDERED as follows:

        1.     Plaintiff’s Motion for Summary Judgment against Defendant Bobby

  Gobble, ECF No. 59, is GRANTED as to said defendant’s liability under Counts

  IX, XII, XIII, and XIV of the Complaint, with the amount of the judgment to be

  determined following the jury’s verdict as to the damages to be awarded against

  said defendant;


                                             -56-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 56 of 57 Pageid#: 2446
         2.     Defendants Russell County School Board, Phillip Henley, and

  Kimberly Hooker’s Motion to Exclude, ECF No. 60, is GRANTED IN PART

  AND DENIED IN PART. Plaintiff is granted leave to supplement his response to

  the objections to the testimony of Richard S. Epstein, M.D., provided such

  response is filed by February 19, 2018, and with any reply thereto by the

  defendants to be filed no later than February 23, 2018;

         3.     Defendants Russell County School Board, Phillip Henley, and

  Kimberly Hooker’s Motion for Summary Judgment, ECF No. 62, is GRANTED

  IN PART AND DENIED IN PART. It is GRANTED as to Counts III, IV, V, and

  XI     as    to     defendants      Henley        and    Hooker,      and     they     are

  DISMISSED as defendants. It is otherwise DENIED; and

         4.     Defendants designated as “John Roes 1-10” in the Complaint are

  DISMISSED without prejudice and Counts VIII and X of the Complaint solely

  against said defendants are DISMISSED without prejudice. 4

                                                    ENTER: February 13, 2018

                                                    /s/ James P. Jones
                                                    United States District Judge


         4
             Without filing separate motions, the plaintiff has requested the court to impose
  sanctions on the School Defendants for filing the motion in limine to exclude certain of
  the plaintiff’s expert testimony, and in addition has requested the court to sua sponte
  enter summary judgment against the School Board under Counts I and II. These requests
  are denied. The motion in limine relating to the expert testimony is not sanctionable, and
  there are issues of fact in dispute that preclude summary judgment for the plaintiff.
                                             -57-

Case 1:16-cv-00045-JPJ-PMS Document 91 Filed 02/13/18 Page 57 of 57 Pageid#: 2447
